    Case 8:23-cv-01321-SDM-AEP Document 8 Filed 08/03/23 Page 1 of 4 PageID 25




                      UNITED STATES DISTRICT COURT FOR THE
                           MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

    STEVEN STENTZ,

         Plaintiff,
                                                Case No. 8:23-cv-01321-SDM-AEP
    v.

    THE CITY OF DUNEDIN,

         Defendant.


                 DEFENDANT’S UNOPPOSED MOTION FOR
                  EXTENSION OF TIME TO RESPOND TO
          PLAINTIFF’S COMPLAINT AND DEMAND FOR JURY TRIAL
                      (filed through a limited appearance)

          Defendant, the City of Dunedin (“City), moves to extend the time for serving

its response to Plaintiff’s Complaint and Demand for Jury Trial [DE 1] by 30 days

to September 7, 2023. Fed. R. Civ. P. 6(b)(1)(A). The undersigned attorney makes a

limited appearance in this case for the limited purpose of seeking an extension of

time on the City’s behalf.1




1
  The undersigned’s firm serves as general counsel for the City. As of the time of
filing this motion, the undersigned’s firm has not been retained to represent the City
as litigation counsel in this action. To protect the City against default until such time
as it engages litigation counsel, this motion is being filed on behalf of the City
through a limited appearance only. The City does not waive any defenses or other
rights in this proceeding by seeking this extension of time via a limited appearance.

                                            1
Case 8:23-cv-01321-SDM-AEP Document 8 Filed 08/03/23 Page 2 of 4 PageID 26




      This lawsuit was commenced on July 14, 2023. [DE 1.] The City was served

with process on July 18, 2023, and its response to the complaint is currently due on

August 8, 2023. Fed. R. Civ. P. 12(a)(1)(A)(i).

      Additional time is needed to allow the City to engage counsel to represent it

in this case, and to allow counsel adequate time to prepare a response on the City’s

behalf. Therefore, the City seeks a 30-day extension of time to respond to the

complaint. If the requested extension is granted, the City’s response to the complaint

will be due on September 7, 2023.

                           MEMORANDUM OF LAW

      A district court, for good cause shown, may at any time in its discretion order

enlargement of a time period prescribed by the federal rules when such motion is

made prior to the expiration of the period originally prescribed. Fed. R. Civ. P.

6(b)(1)(A); Heller Bros. Packing Corp. v. Illinois Union Ins. Co., No. 6:18-cv-1668-

ORL-78DCI, 2020 WL 6270890, at *1 (M.D. Fla. Sept. 8, 2020) (citing Fed. R. Civ.

P. 6(b)(1)(A)).

      This motion is filed before the original time period for City to respond to the

complaint has expired; the Plaintiff will not be prejudiced by the short extension of

time requested; and the extension is necessary for the City to engage legal counsel

to represent it, and to allow the legal counsel the City engages sufficient time to

prepare a response to the complaint.


                                          2
Case 8:23-cv-01321-SDM-AEP Document 8 Filed 08/03/23 Page 3 of 4 PageID 27




      This is the City’s first request for an extension of time. This request is made

in good faith and not for the purpose of delay or for any other improper purpose.

      Accordingly, the City respectfully requests that the Court enter an order

granting the City a 30-day extension of time, until September 7, 2023, in which to

respond to the complaint.

                         Local Rule 3.01(g) Certification

      The undersigned certifies that the movant conferred with counsel for the

Plaintiff regarding the relief sought in this motion via email, who advised that the

Plaintiff has “no objection with the understanding that we do not expect appearing

defense counsel to ask for another extension.”

      Dated: August 3, 2023.          s/Elizabeth W. Neiberger
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                                      Limited Appearance on behalf of Defendant




                                         3
Case 8:23-cv-01321-SDM-AEP Document 8 Filed 08/03/23 Page 4 of 4 PageID 28




                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that the foregoing document was filed electronically
through the clerk of the court by using the CM/ECF system, and that a true and
correct copy was served on the following registered users electronically via notice
of electronic filing email generated by the CM/ECF system, on August 3, 2023.

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                                            s/Elizabeth W. Neiberger
                                            Elizabeth W. Neiberger




                                        4
